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             EXHIBIT C
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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


    In re:                                      :
                                                  Docket #1:13-cv-09244-
     IN RE                                      : RA-SDA

       ACTOS ANTITRUST LITIGATION               :
                                                  New York, New York
                                                : March 29, 2022

    ------------------------------------- : TELEPHONE CONFERENCE

                             PROCEEDINGS BEFORE
                      THE HONORABLE STEWART D. AARON,
                       UNITED STATES MAGISTRATE JUDGE

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                           E X A M I N A T I O N S

                                                     Re-       Re-
    Witness                Direct      Cross       Direct     Cross

    None

                                E X H I B I T S

    Exhibit                                                            Voir
    Number            Description                        ID   In       Dire

    None
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 2              HONORABLE STEWART D. AARON (THE COURT):            This is

 3   Magistrate Judge Aaron.      This is the matter In Re ACTOS

 4   Antitrust Litigation, Master File Number 13-cv-9244.              This

 5   line is being recorded.      I'd like to have the parties

 6   identify themselves, please, starting with counsel for the

 7   plaintiff.

 8              MR. AARON J. MARKS:      Good afternoon, your Honor.

 9   This is Aaron Marks on behalf of all plaintiffs.

10              MR. R. BRENDAN FEE:     Good afternoon, your Honor.

11   This is Brendan Fee from Morgan Lewis on behalf of the Takeda

12   defendants.   And along with me are my colleagues, Melina

13   Dimattio and Patrick Huyett.

14              THE COURT:    Good afternoon.     I read the parties'

15   submissions that were filed at ECF 359, 362 and 366.          And it's

16   the plaintiffs' letter motion.       I'm happy to hear from the

17   plaintiff about anything that they want to emphasize or say,

18   I mean, keeping in mind that I've already read the thing and I

19   may have a few questions along the way.        And then, obviously,

20   I'm happy to hear from the defendants next.         So I'll turn the

21   floor over to the plaintiffs' counsel first.

22              MR. MARKS:    Thank you, your Honor.      Again, this is

23   Aaron Marks on behalf of all plaintiffs.          As your Honor is

24   aware from the papers, there are two issues before the Court,

25   each involving email threads and earlier-in-time emails.           And
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 2   an email thread is just a collection of emails that has been

 3   replied to or forwarded to one another.        They're associated in

 4   email software, such as Outlook or Gmail, which your Honor may

 5   be familiar with.    Earlier-in-time emails are any email in

 6   that thread collection except for the most recent email.

 7              And the issue here is that defendants are proposing

 8   to produce virtually no earlier-in-time emails or metadata

 9   and not include any of those earlier-in-time emails on

10   their privilege log.      We think this severely prejudices

11   plaintiffs, hampers our ability to prosecute the case and

12   is barred by the federal rules, local rules and the Second

13   Circuit's precedents.

14              Unless your Honor would prefer otherwise, I would

15   just being with the privilege log and make a few points.

16   First --

17              THE COURT:    Well, sure.     If you want to start with

18   the privilege log, you can.

19              MR. MARKS:    Certainly, your Honor.        So we have

20   three primary points just to emphasize on the privilege

21   log.   And the first something that we raised in the

22   plaintiffs' briefs -- defendants didn't really respond to

23   it in their papers -- but it's that this is a case where

24   privilege is enormously important.         The allegations at the

25   heart of this case are that defendants filed
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 2   misrepresentations with the FDA about patents that they had

 3   rights to, which triggered regulatory and legal

 4   consequences, including litigations, and that that all

 5   delayed the entry of generic competition for their diabetes

 6   drug called ACTOS.

 7              So defendants have understood from the beginning

 8   of this case that litigation, kind of legal facts and

 9   potentially privileged documents were going to be at the

10   center of this.     And they agreed to include on their

11   document custodians a number of attorneys.           And they agreed

12   to that in the discussions over the scope of discovery.

13   The Court also recognized that privilege would be at the

14   heart of this case when it scheduled -- included on the

15   case schedule two separate deadlines for privilege logs, as

16   well as a deadline for defendants to elect their advice-of-

17   counsel defense.     There's a specific deadline when they're

18   going to elect that defense or not; and if they do, there

19   will be a privilege waiver associated with it.           If

20   defendants elect to a privilege, there will be an intense

21   focus on their privilege log because in cases like this

22   when a defendant waives privilege to rely on an advice-of-

23   counsel defense, the parties often dispute what the

24   appropriate scope of that waiver should be.           And plaintiffs

25   are going to have to scrutinize extremely closely every
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 2   entry on defendants' privilege log to understand whether

 3   they have appropriately asserted privilege or not.

 4              So privilege is extremely important on this case,

 5   but the second point to underscore -- and I'll make it

 6   brief since your Honor has read the papers -- but

 7   defendants' proposal really makes it impossible to assess

 8   privilege for all of these earlier-in-time emails.            To

 9   assess privilege under the federal rules and the local

10   rules, Second Circuit precedents say you need to know who

11   was involved in the communications.         Defendants aren't

12   going to share that for these earlier-in-time emails.              You

13   also need to know when were the communications sent and

14   what generally were they about.        Defendants aren't

15   disclosing any of that for the earlier-in-time emails.

16   This makes it impossible to assess whether a lawyer was

17   even involved or whether there may have been a third party

18   involved whose presence would break the privilege.            And so

19   we think that it just clearly violates the local rules,

20   federal rules.

21              And that all is driven home in the Bystolic case,

22   your Honor, which is the last point I would just touch on.

23   Judge Liman just last year decided in Bystolic that -- he

24   rejected the proposal defendants are making here.            And

25   Bystolic is another larger antitrust case, also involves a
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 2   pharmaceutical product, very similar to here.           And what

 3   Judge Liman held is that each email in an email thread is a

 4   separate communication for which a privilege may or may not

 5   be applicable.     Accordingly, each individual email must be

 6   logged in the thread separately because, otherwise, the

 7   Court would have no way to assess whether those earlier

 8   emails were actually privileged.         This would result in what

 9   another case called stealth claims are privileged.            And if

10   your Honor saw the attachment to our reply brief filed as

11   Exhibit C, that's an example that shows this isn't

12   hypothetical that defendants would be asserting stealth

13   claims of privilege.      In their production there are email

14   threads where the individuals on the topmost thread were

15   not present at all on the earlier threads -- on the earlier

16   emails, I should say.      This would mean that if defendants

17   were to withhold that thread, we would have no idea --

18   plaintiffs and the Court would have no idea that they had

19   withheld earlier-in-time emails involving particular

20   individuals.

21              Ultimately, just to conclude this point, this

22   would take what is the defendants' burden to establish

23   privilege and it would flip it to the plaintiffs first, who

24   would have to challenge vast swaths of these earlier-in-

25   time emails for which we would have no information
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 2   disclosed.    And then that would ultimately come to the

 3   Court, which would have to review these documents in

 4   camera.   But that's exactly what Rule 26 seeks to avoid.

 5   The advisory committee notes, Rule 26, says that the reason

 6   a party has to disclose this basic information is so that

 7   the Court can avoid having to review, you know, enormous

 8   tranches of documents in camera.         And so we think the

 9   minimal burden of having to identify this basic

10   information, such as sender, recipient, date will provide

11   an enormous benefit to the parties and the Court as this

12   case goes forward so that we can resolve privilege disputes

13   between the parties without having to burden the Court.

14              Unless the Court has any questions on the

15   privilege log, I would move to the production issue.

16              THE COURT:    Yes, I do have questions.        And what

17   I'd like to do is hear from -- after I ask my questions,

18   hear from the defendants on the privilege log point and

19   then move to the second point and then hear from the

20   defendants.

21              So here's my question:        Judge Liman did not

22   address the local civil rule, right, 26.2C and the

23   accompanying committee note.        And he doesn't get into the

24   issue of, for lack of a better term, trying to reduce the

25   burden on the party asserting the privilege.           So, I mean,
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 2   the issue just from -- I mean, the opinion is very short,

 3   or the order is very short -- but you're not suggesting,

 4   are you, that the defendants are precluded from doing a

 5   document-by-document log of every single earlier-in-time

 6   email?   I mean, aren't they allowed, for example, to take a

 7   categorical approach with respect to certain tranches?

 8              MR. MARKS:     Sure, your Honor, I'll take that in

 9   two parts.     So, first on Judge Liman's opinion and Rule 26,

10   I'm not sure if your Honor has it in front of you, but page

11   three of that opinion as it's reproduced in Westlaw, or

12   it's under the heading Four in the opinion, actually does

13   quote Rule 26.2.     It says, "Expressly, Local Civil

14   Rule 26.2 requires that a party asserting privilege in

15   response to a document request provide," and then it sets

16   forth all of the specific information.          So I do think Judge

17   Liman had Rule 26.2 in mind when writing that opinion.              And

18   the ruling on email-by-email --

19              THE COURT:     Right, but he did not -- he's relying

20   on the earlier part of 26.2.        I'm going to pull it up, but

21   does he discuss 26.2-C?       Am I misremembering?

22              MR. MARKS:     You're not misremembering, your Honor;

23   26.2-C is not discussed in that opinion.           But I think --

24              THE COURT:     It's on the next page of the local

25   civil rules.     I'm not suggesting that my colleague, Judge
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 2   Liman, didn't turn the page; but on the edition that I was

 3   looking at of the local civil rules, it's certainly -- it's

 4   on the next page.      And I don't think they're necessarily

 5   inconsistent.     And although -- because 26.2, the earlier

 6   part of it, A and B, tracks the federal rule; but what the

 7   judges of this court who adopted the local civil rule had

 8   in mind, particularly given the types of litigation that we

 9   have in the Southern District of New York, ways to

10   alleviate burdens and --

11              MR. MARKS:     Absolutely, your Honor.       And I think,

12   just looking at the text of subsection C, which we think is

13   important in this dispute and did bring up in our brief, so

14   subsection C says a few things.         First, it does allow

15   categorical logging.      That's not in dispute.       But it also

16   says that a party, quote, "may object if the substantive

17   information provided by this rule has not been provided in

18   a comprehensible form."       So then the question is well, how

19   do we reconcile those two things?         What does it mean to

20   provide the categorical log but also provide the, quote,

21   "substantive information required by this rule."            And I

22   think the compromise that plaintiffs proposed to defendants

23   here when we were discussing this at first exactly resolves

24   this tension.     So what plaintiffs said to defendants is if

25   you have an email thread where all of the individuals on
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 2   the email thread are the same and they're discussing the

 3   same subject matter, then under this rule it seems proper

 4   to provide a single entry for that thread.           Even though

 5   that is a grouping of -- could be 5, 10, 20 documents, 20

 6   emails, it would make sense to group those because the

 7   basis of the privilege is the same.          And that's what the

 8   rules says; it says that you can use a categorical

 9   approach, quote, "when asserting privilege on the same

10   basis."

11               But because the heart of a privilege claim turns

12   on who is involved in the communications, was it a third

13   party, an attorney, somebody else, and also turns on what

14   is the subject of the communication, is it actually a

15   request for legal advice, then when those two things vary,

16   the participants and the subject matter, then it's no

17   longer appropriate to categorically log, and the

18   substantive information required would no longer be

19   provided.

20               And so, from plaintiffs' perspective, that's how

21   these, you know, two kind of somewhat competing parts of

22   subsection C can be resolved.        And, again, plaintiffs are

23   completely amenable to accepting single log entries for

24   threads as long as the individuals on the thread and the

25   subject matter are the same.
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 2               THE COURT:    All right, why don't I hear from the

 3   defendants?     And as the defendants speak, I'd like to hear

 4   their perspective on whether a metadata log could be

 5   provided.     As I'm sure everyone's aware, through Outlook

 6   one can populate various fields, to, from, date, re.

 7   Oftentimes the re isn't illuminating, for lack of a better

 8   term, and may need to be supplemented; but it would be a

 9   tool that the plaintiffs could use to try to satisfy that

10   part of Local Rule 26.2-C of providing substantive

11   information in a comprehensible form.          So when defense

12   counsel talks, if they could talk to the practicality and

13   the feasibility of a metadata log for privileged documents.

14   I forget who's speaking on behalf of the defendants, but

15   I'm happy to hear from you about the privilege log

16   generally and about the feasibility of a metadata log,

17   please.

18               MR. PATRICK HUYETT:      Yes.   Thank you, your Honor.

19   This is Pat Huyett from Morgan Lewis on behalf of Takeda.

20               So the first thing I'll say is that creating a

21   privilege log, especially in a complex case like this

22   involving thousands of documents, is an incredibly

23   burdensome and expensive exercise.          And the local rules in

24   this court, the federal rules, the case law, the Sedona

25   Principles, they all recognize that, and they all encourage
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 2   measures to alleviate some of that burden and expense.

 3              As your Honor noted, Local Civil Rule 26.2-C, it

 4   doesn't just allow for a categorical log; it encourages

 5   parties to create and provide a categorical log.            And it

 6   even says that a categorical log is presumptively proper.

 7   And that's the path that Takeda is proposing to pursue here

 8   with its log.     And so then the question becomes what is

 9   Takeda required to include in its categorical log.             And we

10   think that, you know, there are no rigid requirements on

11   what Takeda has to include in its categorical log.             As your

12   Honor recognized the subsection A-2 of the local rules of

13   26.2 is separate from subsection C allowing for categorical

14   logs.   So a categorical log does not have to provide all of

15   the information listed in subsection A-2-a as plaintiffs

16   claim in their papers on this issue.

17              And so the proper approach, then, for a

18   categorical log is it has to include enough information for

19   the opposing parties to assess the claim of privilege.               And

20   that's the standard from the federal rules.           And we think,

21   you know, in the categorical log context, you know, a

22   defining feature of categorical log is its flexibility, is

23   its efficiency.

24              So here, what Takeda is proposing to do is to

25   provide plaintiffs with enough information in a single log
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 2   entry to allow them to assess the claim of privilege,

 3   because that's what's required by the federal rule and

 4   that's what's required by subsection C here.           Plaintiffs

 5   will also have additional information, such as the subject

 6   of the email, the date of the most recent-in-time email and

 7   the participants to that email.         And that information is

 8   enough to allow the plaintiffs to assess the privilege

 9   claim.

10              And it's clear, if you look, actually, at the

11   federal rule and the comments to that rule, that the types

12   of information that plaintiffs claim that they need, they

13   claim presents, you know -- that without this information,

14   it's an impassable, you know, obstacle to assessing the

15   claim of privilege, that's just not borne out in practice

16   and by the rules.      The comments the advisory committee

17   notes to the 1993 amendment to Rule 26 of the federal rules

18   says the following:      "The rule does not attempt to define

19   for each case what information must be provided when a

20   party asserts a claim of privilege or work product

21   protection.    Details concerning time, persons, general

22   subject matter, etc., may be appropriate if only a few

23   items are withheld but may be unduly burdensome when

24   voluminous documents are claimed to be privileged or

25   protected, particularly if the items can be described by
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 2   categories."     So here, what this comment is saying is that

 3   this information that plaintiffs claim is absolutely

 4   necessary for them to assess the claim of privilege, that's

 5   nice-to-have information; it's not required information,

 6   it's not absolutely necessary for them to assess the claim

 7   of privilege.     And so, in cases like this one, where the

 8   voluminous documents are claimed to be privileged or

 9   protected, Takeda can proceed under its proposal consistent

10   with the federal rule and the local rule on categorical

11   logging.

12              So, your Honor, I'll address the metadata question

13   that you raised.     And if I understand your question

14   correctly, it's whether -- what are the practicalities of

15   Takeda providing a pure metadata log for the lesser-

16   included emails in the email threads.          And the first thing

17   I'll say --

18              THE COURT:     For privilege I am -- I'm now focusing

19   on the privilege issue, but yes, go ahead.

20              MR. HUYETT:     Understood, your Honor.       The first

21   thing I'll say is I'll just reiterate that plaintiffs don't

22   need that information to assess the claim of privilege.              We

23   will be providing them with the information necessary to

24   assess the claim of privilege as we're required to do under

25   the federal rules and under the local rules.
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 2               THE COURT:    Yes, if I can just interrupt you

 3   there?    Because I had experience with this in the SM Kids

 4   matter, which when we get to the next issue, you point out

 5   the protocol that was entered there.          So what happened in

 6   SM Kids is there were some privilege -- the case eventually

 7   settled -- but there were privilege issues, and I had to

 8   review things in camera; and, as you note, the threading

 9   was used.    So unbeknownst to the -- I'm trying to remember

10   who was asserting privilege -- I guess unbeknownst to the

11   plaintiff -- no, actually, I think it was the other way

12   around.     Plaintiff was asserting privilege, and unbeknownst

13   to the defendant, in some earlier-in-time emails there were

14   third parties that were in and out, for lack of a better

15   term, so they weren't on the initial string, they were

16   added, and then they were dropped.         And I found with some

17   of the intermediary emails that there was a waiver because

18   there was a third party on them.         So I ordered those --

19   redactions done, right, so that the -- I guess once the

20   person came on, it was everything that came before because

21   that person would have seen them, was not privileged while

22   things that came after, after it was forwarded and the

23   third party was dropped, I found that privilege stayed.             So

24   it would impose an awfully large burden if I were to permit

25   the threading to be done -- and we're going to get to that
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 2   issue next -- for Takeda lawyers or paralegals, whoever are

 3   going to do it, to have to go through and keep an eye out,

 4   for lack of a better term, on who all of those intermediary

 5   recipients were; whereas, if a metadata log were created of

 6   all of the earlier-in-time privileged emails, you wouldn't

 7   have to go through the manual process and rely upon

 8   someone's eyes to be able to pick up the fact that an

 9   interloper, to just use that term, has come into the middle

10   of an email chain and then drops out.          So it would deal

11   with that issue.

12              Sorry for interrupting you.

13              MR. HUYETT:     Oh, no, no problem, your Honor.

14              We have discussed that with -- we have discussed

15   that possibility of trying to create a metadata log or have

16   created a metadata log of the nature that you describe.            And

17   our understanding is that it can be done, but it will still

18   require some manual work, and it will not -- for lack of a

19   better term, it won't be as accurate as one would like.            So

20   we have looked into that, and we --

21              THE COURT:     I didn't understand the accuracy

22   point.   My understanding is the fields are just literally

23   transferred, so whoever is listed in the To and the From

24   and the CC and the BCC, it just populates.           So I'm not sure

25   of your point about accuracy.        Obviously, somebody needs to
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 2   go through the subject line to make sure that there's no

 3   privileged information that's set forth in the subject

 4   line, which can happen, I suppose.         But I didn't understand

 5   your accuracy point.

 6              MR. HUYETT:     Well, our understanding is that

 7   sometimes, you know, the automated process for that to the

 8   extent we can do it.      Sometimes it can't always be relied

 9   upon to pick up everything is the accuracy point.

10              THE COURT:     All right.     I mean, look, it is what

11   it is.   I mean, I suppose Outlook isn't infallible, but on

12   the other hand, there's not much to go wrong, it seems to

13   me.   But go ahead.     I interrupted you.

14              MR. HUYETT:     So I would propose or we would

15   propose a more reasonable approach, which we have proposed.

16   And that is where plaintiffs identify emails where they

17   have a reasonable request or reasonable basis for seeking

18   that additional information, we are more than happy to meet

19   and confer with them and to work out a solution.            We don't

20   think that the burden that will be imposed from having to

21   create some sort of log or to go through that process and

22   any manual effort that's required there justifies, you

23   know, the few instances where plaintiffs might seek this

24   information.

25              And I'll also note that one other additional
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 2   compromise that we've offered to plaintiffs to assist them

 3   in their review of the log is something that's not required

 4   by the rules at all, but in our experience, plaintiffs

 5   often ask for it, and it is something that can help them to

 6   assess a claim of privilege on the log.          And that is for

 7   each entry on the log where we're logging an email thread,

 8   we will also provide the number of emails in the thread and

 9   the number of pages that the thread consists of.            And what

10   that does -- and I'm speaking from experience because I've

11   gone through privilege logs for this purpose before -- is

12   that where plaintiffs come across entries that they are

13   particularly interested in, you know, as they're triaging

14   their privilege log review, as they say, and they come

15   across an entry that is a thread that is entirely withheld

16   and they see, for example -- and I actually think to use

17   one of their exhibits to their reply is helpful.            So

18   Exhibit C, for example, contains eight emails in the

19   thread, and it spans 22 pages.        If they come across a

20   thread like that that is entirely withheld and consists of

21   eight emails and 22 pages across the thread, then that

22   gives them more information about how many -- you know,

23   about sort of the extent of the information that's included

24   in the document, and that gives them a reasonable basis to

25   meet and confer with us and seek the additional information
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 2   in the lesser-included emails.

 3              THE COURT:     So let me ask you, I saw a reference

 4   in the submissions to a privilege log protocol.            Where does

 5   that stand?

 6              MR. HUYETT:     The privilege log protocol is fully

 7   negotiated.    And if I'm remembering correctly, I believe

 8   this is the only outstanding issue on that protocol.               And

 9   we actually attached that protocol with a red line to the

10   competing proposals as an exhibit to our opposition.

11              THE COURT:     Okay, so sorry I missed that.        Let me

12   pull it up.

13              Okay, so the red line shows Takeda's markup?

14              MR. HUYETT:     Yes, your Honor.

15              THE COURT:     Okay.   Do plaintiffs -- sorry, were

16   you finished on the privilege log issue?

17              MR. HUYETT:     Yes, your Honor.

18              THE COURT:     All right, do plaintiffs wish to make

19   any other remarks about that?

20              MR. MARKS:     Yes, your Honor, with the Court's

21   indulgence, just a few brief points in rebuttal.

22              THE COURT:     Okay.

23              MR. MARKS:     First, I think with the SM Kids case

24   your Honor hit the nail on the head.          That's perfectly

25   illustrative of the concerns the plaintiffs have here with
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 2   defendants' proposal.       The emails that we attached as

 3   exhibits to the reply brief show that in defendants' usual

 4   course of business different people come on and off email

 5   threads, and this could include third-party interlopers, as

 6   your Honor said.      There would be absolutely no way to know

 7   whether that was going on under defendants' proposal.              It

 8   would inevitably lead to in camera review and needless

 9   burden on the Court, which we can avoid here.

10              Second, on defendants' burden argument, I

11   understood Mr. Huyett to say that the kind of log that your

12   Honor is proposing, a metadata log populated by Outlook, to

13   use his words, "can be done."        It would require, quote,

14   "some work" manually.       But, you know, I think at the end of

15   the day this is a situation where an ounce of prevention

16   is, you know, a pound of cure.        If defendants can put in,

17   you know, whatever minimal effort it takes to generate that

18   kind of metadata log that gives plaintiffs the information

19   about who sent and received the emails, when they were

20   sent, that kind of thing, that will help avoid substantial

21   burden down the line.

22              Just on that information itself, you know,

23   Mr. Huyett said that it's nice to have, to know who sent

24   and received emails.      I think that, you know, relying on a

25   committee note to the rule which talks about what may be
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 2   burdensome in some situations, it can't override what the

 3   Second Circuit has said should be included in a privilege

 4   log.   And we cited the Construction Products case to your

 5   Honor -- you saw that in the briefs.          Defendants didn't

 6   have a response to it.       The Second Circuit's clear on what

 7   should be included in a privilege log and what's needed to

 8   assess the claims of privilege, and I think that, you know,

 9   your Honor's experience with the SM Kids case shows just

10   why that information is required.

11               And, lastly, I would just say that defendants

12   proposal that plaintiffs should, you know, ask for

13   additional information on a case-by-case basis just is not

14   practicable.     There was a suggestion that plaintiffs could

15   somehow triage the entries based on the information

16   included in defendants' log.        That's just not true.          All

17   the defendants would be doing is to say this thread has

18   five emails in it, this has ten.         That's nothing more than

19   telling plaintiffs there is an email that exists which has

20   been withheld.     That tells us nothing about what its

21   subject matter was, who was participating in it, when it

22   was sent.    And that's crucial information.         These threads

23   can involve all sorts of different people coming on and

24   off.   They can span months and months and months.           And so

25   to only log information about the most recent email is
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 2   plainly deficient under all of the authorities; and so we

 3   would request the Court require defendants to produce this

 4   information in their privilege log.

 5              THE COURT:     Okay.   So let's turn to the threading

 6   issue, please.     And I'll hear from plaintiffs' counsel

 7   first.

 8              MR. MARKS:     Thank you, your Honor. On the

 9   threading production issue, what we understand defendants

10   to be doing here is withholding virtually all of the

11   earlier-in-time emails.       They don't seem to dispute that

12   they're responsive to the negotiated scope of discovery,

13   they don't dispute that they're relevant.           They're simply

14   withholding them.      This has massive consequences for

15   plaintiffs' ability to litigate this case.

16              First and most prominently, it makes searching

17   their documents almost impossible.         And this is in clear

18   contravention of Federal Rule of Civil Procedure 34, which

19   requires that documents be produced as they're maintained

20   in the course of business.        And, again, the advisory

21   committee note there says that if emails are kept in a

22   searchable form, they shouldn't be produced in a way that

23   degrades or eliminates that searchability.

24              Here, defendants' proposal would do just that.

25   And just to take an example, if defendants produced an
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 2   email thread that had five emails on it; and say the first

 3   and second email were from the CEO of the company, but the

 4   CEO gets dropped from the thread, plaintiffs would have

 5   absolutely no way to locate those earlier emails from the

 6   CEO of the company even though they could be crucially

 7   important to the case.       So running a search for all emails

 8   from the CEO would not turn up those earlier emails.               And

 9   the same goes on the To side.        It comes impossible to

10   actually search for emails in this case, which is a hugely

11   important task as we proceed through discovery.            For

12   example, your Honor may be familiar with, you know, a

13   routine task ahead of depositions is just to pull all of

14   the witness's emails and read through those.           And, you

15   know, it's something that's crucially important to do to

16   understand what happened in the case, who was discussing

17   what with whom and when.       Defendants' proposal would just

18   make that impossible.       And given that plaintiffs are the

19   ones with the burden to prove the elements of this case, I

20   think this severely prejudices us as we move forward

21   through discovery and eventually to trial.

22              Now, defendants' only real argument for not

23   producing this information is that they say it's redundant.

24   They say that, you know, they're not, quote, "withholding

25   any unique content."      We think that's just plainly not true
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 2   based on the face of the documents.          We attached exhibits

 3   to each of our reply briefs, and if your Honor looks at the

 4   first email that was sent in that thread, which this is a

 5   thread defendants produced, the first email identifies a

 6   sender but does not show who actually received the email.

 7   And this is information which we need to understand what

 8   happened in this case.       It's information that would be

 9   visible if defendants produced these emails as they're

10   stored in the ordinary course of business, along with the

11   metadata.    But we simply don't have that information.

12   We're also never going to know who was bcc'd or blind

13   carbon copied on emails because that information also is

14   never visible in the way defendants intend to produce these

15   email threads.

16               We think that these email threads just are not

17   actually redundant of what defendants are withholding, and

18   there's crucial information that we're missing, even beyond

19   the searchability problem, which itself is a huge issue.

20   So plaintiffs' position is, you know, these are not

21   redundant.    It's visible from the face of the documents.

22   But even if they are redundant, if defendants are right,

23   well, that's barred by the ESI order in this case.

24   Plaintiffs and defendants negotiated a stipulated order

25   governing ESI in this case back in 2015, and defendants
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 2   never raised email threading back then, and it took

 3   plaintiffs frankly completely by surprise when defendants

 4   told us they were doing this.        And that's because the ESI

 5   order says that all responsive ESI is going to be produced

 6   along with all metadata.       It also says that there's one way

 7   that a party can deduplicate documents if they're exact

 8   duplicates using something called a hash function, and

 9   which does not apply here.        So, you know, we think these

10   are not redundant documents.        We think that there's unique

11   information we're missing.        And even if defendants are

12   right, this is barred by the ESI order.

13              I would just conclude by saying that the earlier-

14   in-time emails are documents defendants already have.

15   We're not asking them to create something new to produce

16   here.    And their position is that they've already reviewed

17   these.    They say, "We've already taken a look at these, and

18   we understand that the body text of these emails is

19   included in the threads we're going to produce."            And so if

20   they've already reviewed them, they should know which ones

21   are privileged, which ones are not, and they should be able

22   to simply produce them.       It should be a push of a button.

23   So we think the burden is really incredibly low here, given

24   that defendants have these and have reviewed them.             And,

25   you know, for those reasons, we would ask your Honor to
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 2   require that defendants produce those responsive and

 3   relevant ESI that they maintain they're going to withhold.

 4               THE COURT:    All right.     Let me hear from defense

 5   counsel.     And one of the things I would like to hear about

 6   or have you respond to is the precedent, for lack of a

 7   better term, that's been provided to me has been in the

 8   form of protocols.       And it certainly is the case that there

 9   are protocols out there, including SM Kids and others,

10   where parties have agreed to so-called email threading; and

11   under Rule 29, as we know, parties can stipulate to

12   discovery methods and that kind of thing.           But I haven't

13   seen anything where a Court has imposed it in circumstances

14   where, you know, my review of the protocol that was entered

15   back in March of 2015 certainly is silent about threading.

16   But I think that threading is inconsistent with the spirit

17   of it.     But why don't you comment on that as you make your

18   argument, please?

19               MR. HUYETT:    Sure, your Honor.      Pat Huyett again.

20               So email threading, it's common and well accepted.

21   It's usually not controversial.         As you mentioned, you

22   often see parties agree to it in the stipulated ESI

23   protocols.     But we couldn't find any cases where this issue

24   was actually litigated, and plaintiffs didn't cite any.             So

25   that's likely because email threading benefits both
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 2   parties; it benefits plaintiffs and it benefits defendants.

 3   It does so mainly by reducing the document volume, we have

 4   found, by about 25%.      And so that helps both sides because

 5   it means fewer documents to store, fewer documents to

 6   review, and for defendants fewer documents to produce.               And

 7   in our experience plaintiffs don't usually seek to compel

 8   document dumps of additional information that they already

 9   have.

10              We agree that the ESI protocol is silent on email

11   threading.    So in that case, the federal rules govern

12   whether email threading is proper.         And the federal rules

13   allow for email threading.        And our position is you start

14   at Rule 1, which says that the rule should be construed to

15   secure the just, speedy and inexpensive determination of

16   every action and proceeding --

17              THE COURT:     I have to admit, counsel, when you

18   start with Rule 1 -- but go ahead.         That's -- in baby judge

19   school we were told, "Always refer to Rule 1 if you've got

20   nothing else."     But why don't you go onto your next rule?

21              MR. HUYETT:     Okay, well, maybe my next rule will

22   be more compelling, your Honor.         So Rule 34(b)(2)(E)

23   says -- and plaintiffs cite this rule -- it says, "A party

24   must produce ESI in a form in which it is ordinarily

25   maintained or in a reasonably usable form or forms."               And
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 2   the key is the latter part of that statement, "in a

 3   reasonably usable form."       I heard Mr. Marks say multiple

 4   times that by using email threading we have made it almost

 5   impossible for plaintiffs to search the documents.             And

 6   that's just not true.       All of the emails that we have

 7   produced and will produce are fully text searchable,

 8   meaning plaintiffs can go into their database, they can

 9   take a particular witness's name, they can punch that

10   witness's name into the database and pull up all of the

11   emails that hit on that witness's name.          So to be sure,

12   they will not have the full search capabilities that they

13   want and seem to think they're entitled to, but the rules

14   don't require Takeda to provide or produce the documents to

15   plaintiff in a manner, you know, that allows them to search

16   as they would like to.       We've provided them in a fully

17   searchable format.

18              And, also, the information that they claim to be

19   precluded from viewing, the metadata, most of that

20   information is in the email thread itself.           So they can

21   pull up an email thread and they can look and they can see

22   the date the email was sent, the sender, the recipients,

23   and other information like that.

24              So our position is that it is reasonable and

25   proportionate to plaintiffs' needs here for us to proceed
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 2   with email threading.       And in instances where plaintiffs

 3   feel that they need information that they're missing, we

 4   are happy to meet and confer with them and consider any

 5   reasonable requests for that information.           And we actually

 6   think that the exhibits that they've attached to their

 7   reply highlight the reasonableness of our position.                So

 8   plaintiffs have attached several exhibits they claim show

 9   their missing critical information.          But in the vast

10   majority of the emails produced they will have all of the

11   information they're looking for in the email thread itself.

12   And in those select instances in which some of that

13   information is missing and plaintiffs feel it's important

14   to their case to have, Takeda is happy to consider

15   reasonable requests for that information.           And we think

16   that's the reasonable and proportionate solution, not the

17   wholesale production of the tens of thousands of earlier-

18   in-time emails.

19              THE COURT:     So the burden on Takeda of producing

20   these emails in native format, all of the emails that are

21   responsive, not just the threaded ones, isn't significant

22   on the front end, for lack of a better term.           In other

23   words, I mean, obviously, it will take time for it to run,

24   but the emails will be deduped and downloaded to presumably

25   a pst database and then sent out for production.            It's
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 2   essentially a, for lack of a better term, a ministerial

 3   process, right?     Because in order to create the threaded

 4   version, you had to have a population of emails that you

 5   were using to conduct the threading, am I right about that?

 6              MR. HUYETT:     Yes, that's correct, your Honor.

 7              THE COURT:     So the efficiencies come in, for lack

 8   of a better term, on the back end when you're dealing with

 9   the documents?

10              MR. HUYETT:     Yeah, I think so.      But I would also

11   add that so on the front end but before producing those

12   documents, there would be a fair amount of manual review

13   that would have to go into the documents to ensure, you

14   know, for example, consistency in privilege redactions

15   across threads.     You know, that's one of the benefits of

16   email threading is that it allows for that type of

17   consistency rather than, you know, potentially having

18   situations where some information is redacted in one

19   instance but not redacted in another.          I know that that's a

20   situation I've encountered quite frequently.           And it

21   creates a tremendous burden and cost on defendants in the

22   form of the manual review and checks that have to go into

23   that.

24              THE COURT:     And looking at 34(b)(2)(E)(ii), which

25   is what you focused on, it says, "Unless otherwise
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 2   stipulated or ordered by the Court, these procedures apply

 3   to producing documents or electronically stored

 4   information."     And you read from (ii) which says, "If a

 5   request does not specify a form for producing

 6   electronically stored information, the party must produce

 7   it in the form or forms in which it ordinarily is

 8   maintained or a reasonably usable form or forms."            But the

 9   ESI protocol from back in March of 2015, ECF 193, talks

10   about production of ESI.       And I think your adversary's

11   position is that it doesn't say you get to only produce

12   some of it.     The thread is -- so they would argue that it's

13   otherwise stipulated -- and I suppose this was so ordered

14   by Judge Abrams -- so not only is it stipulated, it's also

15   ordered by Judge Abrams.       How do you respond to that?

16              MR. HUYETT:     Well, your Honor, I believe that

17   plaintiffs and Takeda are in agreement on the applicability

18   of the Rule 34 provision that you cited.           If I'm

19   remembering correctly, the plaintiffs actually cite that

20   provision in their letter motion.         They say, "The federal

21   rules require that ESI be produced in the form in which it

22   is ordinarily maintained or in reasonably usable form."            So

23   I'm not -- I don't have the ESI protocol directly in front

24   of me right now, but it seems that plaintiffs and Takeda

25   are in agreement on the applicability of that rule.
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 2              THE COURT:     Yes, but the plaintiffs like what's in

 3   the ESI protocol.      And they're arguing that what you're

 4   arguing for is inconsistent with it.

 5              MR. HUYETT:     We don't think that what we're doing

 6   is inconsistent with the ESI protocol.          The ESI protocol is

 7   silent on the question of email threading.           So, in that

 8   case, what we did was we followed the federal and the local

 9   rules, and Rule 34 permits Takeda to produce the documents

10   to plaintiffs in a reasonably usable form.           So we took the

11   efficient proportionate approach that's fully consistent

12   with the rules.

13              THE COURT:     All right.     Sorry, did you have other

14   points you wanted to make?

15              MR. HUYETT:     No, that's it, your Honor.        Thank

16   you.

17              THE COURT:     Okay.   Any additional comment from

18   plaintiffs?

19              MR. MARKS:     Very quickly, your Honor.        On the ESI

20   protocol, just to make sure plaintiffs' position is

21   understood, we do think the ESI protocol addresses this.

22   We do like it, as your Honor said.         I have a copy in front

23   of me, and it says in Section F-3-a, which I believe we

24   cited in our opening brief, quote, "All responsive ESI

25   except that which is produced in native format should be
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 2   produced in black and white," and then it goes on to

 3   specify exactly how.      But all responsive ESI should be

 4   produced.    It also says, quote, "Each of the metadata and

 5   coding fields set forth in Exhibit 1 which can be extracted

 6   from a document shall be produced for that document."              So

 7   we think the ESI protocol does set forth what's required

 8   here.   It requires the production of all responsive ESI and

 9   metadata, including those earlier-in-time emails.             And it

10   would be perfectly acceptable to plaintiffs to read Rule 34

11   that say and saying it's been resolved by court order.             The

12   reason that we referred to the rest of the rule in our

13   letter was in case your Honor didn't think the ESI protocol

14   had resolved it.     We think just under the rule, as well,

15   this information has to be produced.

16               I did not hear any response to the advisory

17   committee note which says, quote, "If the responding party

18   ordinarily maintains the information in a way that makes it

19   searchable by electronic means, it should not be produced

20   in a form that removes or significantly degrades this

21   feature."    And, you know, although counsel has said that

22   it's, quote, "common and well accepted" to do what they're

23   doing here, the only thing they've ever cited for that is

24   their own representation in an email.          They haven't cited

25   any cases or authorities saying that this is common or well
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 2   accepted.     We don't think it is, and certainly plaintiffs

 3   don't accept it here.

 4               Lastly, just on the compromise or half-measures

 5   that I would say defendants have proposed, first on can we

 6   search the current emails they've produced, while we can

 7   search for the topmost email on the thread, that doesn't

 8   allow us to search the vast majority of emails in the

 9   thread.     So to search -- you know, if I -- just to use the

10   earlier example -- would like to search for emails from the

11   CEO, I am not going to be able to do that for any emails

12   that are not the most recent in the thread because

13   defendants are withholding those for themselves.

14               THE COURT:    I think what he's saying is you could

15   search for the person's name.

16               MR. MARKS:    So a --

17               THE COURT:    The way that you want to do it is to

18   search for the -- run a search through the fields of

19   sender/recipient.      What he's saying is the person's name

20   will be in there because it will be in the middle of the

21   chain.     And then, yet, you're going to have to go and hunt

22   down.     It's certainly not going to be as easy for you to

23   create -- I remember in the old days when I practiced, I'd

24   want to get from the paralegal through the relativity

25   database the To, the From and the cc and bcc, and then the
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 2   separate thing was the dimensions.         This would be --

 3   somebody would have to go through every time the name is

 4   mentioned and see in the body of a lesser-included email

 5   whether the person was a sender or recipient.            So it adds a

 6   layer of work for you.

 7              MR. MARKS:     Exactly, your Honor.       It adds a layer

 8   of work which the federal rules say should not be added.

 9   But also, more importantly, I think it's just not possible,

10   despite what defendants have said.         We attached Exhibit C

11   to our reply brief, which shows an email which doesn't

12   actually display the recipients in the way defendants have

13   produced it.     And, in candor, your Honor, having helped

14   prepare our briefing, I can say, you know, I think we had

15   about two or three days, including the weekend, to do that;

16   and we very easily were able to find those kinds of

17   problems in defendants' production.          They're likely

18   pervasive.     And so we think that, you know, to search for

19   somebody's email address or their name, which it could be

20   either -- we don't know exactly how it would be presented

21   in the document.      There will be many, many instances where

22   the recipient is actually not included in the text of what

23   defendants have produced.       And so we do need that metadata

24   and earlier email to be able to search it at all.             We'll

25   also never have bcc's.       They're never visible in what
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 2   defendants have produced.        But that information can be

 3   crucially important to find out who was involved in, you

 4   know, the communications in this case.

 5              And so I think your Honor had it exactly right

 6   when you said it's essentially a ministerial process to

 7   take these emails that defendants claim to have already

 8   reviewed in order to verify that they're included in the

 9   latest threads that they've produced and to just simply

10   produce them.     We think that the burden here is very low.

11   And without having the ability to effectively search

12   through emails, plaintiffs will be severely prejudiced in

13   our ability to prosecute this case as we go forward.               So we

14   would request that the Court require defendants to produce

15   the earlier-in-time emails and metadata.

16              THE COURT:     All right, well, I'm going to noodle

17   this a bit, and I'll issue a written order -- keeping track

18   of what days -- tomorrow.

19              Anything else the parties would like to raise?

20              MR. HUYETT:     Just one last thing, your Honor, if

21   you don't mind?

22              THE COURT:     And who's this speaking?       Sorry.

23              MR. HUYETT:     This is Pat Huyett from Morgan Lewis

24   on behalf of the Takeda --

25              THE COURT:     Yes.   Go ahead.
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 2              MR. HUYETT:     Yes, your Honor, just one last thing.

 3   Going back to the privilege log issue, the plaintiffs have

 4   repeatedly referred to the Second Circuit law that they

 5   claim requires this information to be included in the

 6   privilege log.     And I just wanted to address that case

 7   briefly.    So that case, which is from 1996, does not

 8   address the issue here at all.        The Court there articulated

 9   what should be included in the traditional document-by-

10   document privilege log that was at issue in that case.

11   Here the issue is what Takeda must provide in its

12   categorical privilege log, which is an issue not at all

13   addressed in this case.       And it's addressed by the Local

14   Rule 26.2-C, which we discussed earlier.           And so I just

15   wanted to address that case briefly, your Honor.

16              THE COURT:     Okay.   Thank you.

17              So I thank counsel for their excellent argument.

18   And, as I said, I'll issue an order tomorrow morning.

19              MR. MARKS:     Thank you, your Honor.

20              MR. HUYETT:     Thank you, your Honor.

21              THE COURT:     This matter is adjourned.        Thank you.

22              (Whereupon, the matter is adjourned.)

23

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 2

 3                        C E R T I F I C A T E

 4

 5              I, Carole Ludwig, certify that the foregoing

 6   transcript of proceedings in the case of In re ACTOS

 7   Antitrust Litigation, Docket #13-cv-09244-RA-SDA, was

 8   prepared using digital transcription software and is a true

 9   and accurate record of the proceedings.

10

11

12

13   Signature_______________________________

14                     Carole Ludwig

15   Date:      April 14, 2022

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